






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00037-CV






Stephen N. Lisson, Appellant


v.


Mary Padgett, Appellee






FROM COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY

NO. 282,786, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


		

		Appellant Stephen N. Lisson's brief was due on June 9, 2008. 
On&nbsp;December&nbsp;15,&nbsp;2008, this Court notified Lisson that his brief was overdue and that his failure to
file a proper motion for extension of time by December 29, 2008, would result in the dismissal of
his appeal for want of prosecution.  To date, Lisson has not filed a brief or a motion for extension
of time.  Accordingly, we dismiss this appeal for want of prosecution.



___________________________________________

					          Diane M. Henson, Justice

Before Chief Justice Jones, Justices Puryear and Henson

Dismissed for Want of Prosecution

Filed:   February 5, 2009


